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                                                   U.S. Department of Justice

                                                             United States Attorney
                                                             Southern District of New York
                                                             The Jacob K. Javits Federal Building
                                                             26 Federal Plaza
                                                             New York, New York 10278


                                                             July 2, 2024

         By ECF

         The Honorable Loretta A. Preska
         United States District Judge
         Southern District of New York
         500 Pearl Street
         New York, NY 10007

                        Re:    United States v. Shukhrat Abdullaev
                               No. 22 Cr. 614 (LAP)

         Dear Judge Preska:

                  The Government respectfully requests, with the consent of defense counsel, to adjourn
         defendant Shukhrat Abdullaev’s sentencing, currently scheduled for July 10, 2024. The
         Government has today disclosed information to the defense related to an ongoing investigation
         that is relevant to the defendant’s sentencing. The Government will promptly provide the defense
         with discovery regarding the information. To provide the defense with time to review the discovery
         and evaluate the new information, the Government respectfully requests to adjourn the sentencing
         for approximately 60 days and to adjourn the deadline for the Government’s submission until one
         week before the new sentencing date. The Government does not oppose a supplemental sentencing
         submission by the defendant in connection with the disclosed information, if the defendant wishes
         to make a supplemental submission.

Mr. Abdullaev's sentencing is adjourned to
                                                                     Respectfully submitted,
September 4, 2024 at 12:00 p.m.    The defense
shall file any supplemental submission no
later than August 21, 2024, and the Government                       DAMIAN WILLIAMS
shall file its sentencing submission no later                        United States Attorney
than August 28, 2024. SO ORDERED.

Date:   07/02/24                                               by: _____________________________
                                                                   Christopher D. Brumwell
                                                                   Cecilia Vogel
                    ____________________________                   Assistant United States Attorneys
                    LORETTA A. PRESKA, U.S.D.J.                    (212) 637-2477/1084


         cc:    All counsel of record (via ECF)
